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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7
                                         INTERNATIONAL TECHNOLOGICAL
                                   8     UNIVERSITY FOUNDATION,                              Case No. 5:18-cv-06228-EJD

                                   9                    Plaintiff,                           ORDER DENYING WITHOUT
                                                                                             PREJUDICE MOTION TO DISMISS
                                  10              v.                                         AND PI MOTION; CONTINUING
                                                                                             CASE MANAGEMENT CONFERENCE
                                  11     KIRSTJEN M. NIELSEN, et al.,
                                                                                             Dkt. Nos. 26, 27, 45
                                  12                    Defendants.
Northern District of California
 United States District Court




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                                  14          The court has reviewed the parties’ Joint Stipulation and Proposed Order Further

                                  15   Continuing Consolidated Hearings From August 1, 2019 to September 26, 2019. Dkt. No. 45.

                                  16   Based upon the parties’ representations that they have entered into certain negotiations which may

                                  17   obviate the need for further litigation before the court, the court orders as follows.

                                  18              1.   Plaintiff’s motion for preliminary injunction (Dkt. No. 26) and Defendants’ motion

                                  19              to dismiss (Dkt. No. 27) are DENIED WITHOUT PREJUDICE. In the event the

                                  20              parties’ negotiations do not lead to a resolution of the litigation, the parties may

                                  21              renotice their respective motions for hearing on September 26, 2019 at 9:00 a.m. The

                                  22              parties’ notices must be filed and served no later than September 11, 2019.

                                  23              2. The initial case management conference scheduled for August 29, 2019 is

                                  24              continued to November 7, 2019 at 10:00 a.m. The joint case management conference
                                                  statement must be filed no later than October 28, 2019.
                                  25
                                                  3. All other agreements between the parties set out in Paragraphs 1, 2, and 3 of the
                                  26
                                                  Joint Stipulation, filed October 29, 2018 (Dkt. No. 21), and the court’s order, dated
                                  27
                                       Case No.: 5:18-cv-06228-EJD
                                  28   ORDER DENYING WITHOUT PREJUDICE MOTION TO DISMISS AND PI MOTION;
                                       CONTINUING CASE MANAGEMENT CONFERENCE
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                                          Case 5:18-cv-06228-EJD Document 46 Filed 07/25/19 Page 2 of 2




                                   1             October 30, 2018 (Dkt. No. 22) shall remain in effect.

                                   2          IT IS SO ORDERED.

                                   3   Dated: July 25, 2019

                                   4                                                 ______________________________________
                                                                                     EDWARD J. DAVILA
                                   5                                                 United States District Judge
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Northern District of California
 United States District Court




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                                       Case No.: 5:18-cv-06228-EJD
                                  28   ORDER DENYING WITHOUT PREJUDICE MOTION TO DISMISS AND PI MOTION;
                                       CONTINUING CASE MANAGEMENT CONFERENCE
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